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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                               CR-18-81-GF-BMM

                  Plaintiff,

       vs.
                                                              ORDER
 LARRY RAY DENNY, JR.,

                  Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on April 14, 2021. (Doc. 115.) Larry Deny Jr.

(Denny) filed an objection on April 27, 2021. (Doc. 116.) The Court reviews de

novo findings and recommendations to which a party objects. 28 U.S.C. §

636(b)(1).

      Judge Johnston conducted a revocation hearing on April 13, 2021. (Doc.

113.) The United States accused Denny of violating his conditions of supervised

release by 1) by failing to report to his probation officer as directed; 2) by failing to

report for substance abuse treatment; 3) by committing another crime; 4) by

consuming alcohol; 5) by failing to follow the instructions of his probation officer;

6) by using methamphetamine; and 7) by failing to complete his substance abuse
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treatment program. (Doc. 110.) At the revocation hearing, Denny admitted to

violating the terms of his supervised release 1) by failing to report to his probation

officer as directed; 2) by failing to report for substance abuse treatment; 3) by

consuming alcohol; 4) by failing to follow the instructions of his probation officer;

5) by using methamphetamine; and 6) by failing to complete his substance abuse

treatment program. (Doc. 113.) Judge Johnston found the violations Denny

admitted are serious and warrant revocation of Denny’s supervised release. Judge

Johnston recommended Denny should be incarcerated for 5 months, with 26

months of supervised release to follow. (Doc. 115.)

       Denny now opposes Judge Johnston’s Findings and Recommendations,

objecting to the length of his sentence of imprisonment of five months that Judge

Johnston recommended. (Doc. 116.)

      The Court has reviewed Judge Johnston’s Findings and Recommendations

as well as Denny’s objection. The undersigned conducted a revocation hearing on

May 5, 2021. (Doc. 118.) Denny and his attorney were allowed to allocute before

the undersigned. (Id.) The Court has also considered the 18 U.S.C. § 3553(a)

factors and agrees with Judge Johnston’s Findings and Recommendations.

Denny’s violations of his conditions represent a serious breach of the Court’s trust.

This violation proves serious. Judge Johnston has recommended that the Court

revoke Denny’s supervised release and commit him to the custody of the Bureau of
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Prisons for 5 months. (Doc. 115 at 4.) Judge Johnston further has recommended a

term of 26 months of supervised release. (Id.) Accordingly,

      IT IS HEREBY ORDERED that Denny’s objection is denied. Judge

Johnston’s Findings and Recommendations (Doc. 115) are ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Larry Ray Denny, Jr. be

sentenced to custody of the Bureau of Prisons for a term of 5 months, with 26

months of supervised release to follow.

      DATED this 5th day of May, 2021.
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